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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                      CR-13-99-GF-BMM

                     Plaintiff,                   ORDER
vs.

HUNTER BURNS,

                     Defendant.

      Defendant, Hunter Burns filed a Notice of Material Change in Defendant’s

Economic Circumstances Pursuant to 18 U.S.C. §3572(d)(3). (Doc. 83) In this

Notice the Defendant requested permission from the Court to file a motion and

brief in support thereof to adjust his fine payment schedule. Accordingly, IT IS

HEREBY ORDERED that the Defendant will be permitted to file a motion and

brief in support thereof to adjust his fine payment schedule.

      DATED this 24th day of August, 2017.
